        Case 3:16-md-02741-VC Document 19035 Filed 08/13/24 Page 1 of 3




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 6
                                  UNITED STATES DISTRICT COURT
 7
                              NORTHERN DISTRICT OF CALIFORNIA
 8
      IN RE: ROUNDUP PRODUCTS                            MDL No. 2741
 9    LIABILITY LITIGATION                               Case No. 3:16-md-02741-VC
10
      This document relates to:
11
      Richard Gomez et al. v. Monsanto Co. et al.,
12    Case No. 3:24-cv-03495-VC
13

14   MONSANTO COMPANY’S OBJECTION TO PLAINTIFFS’ PURPORTED “NOTICE
              OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE”
15
            Pursuant to Rule 41 of the Federal Rules of Civil Procedure, Defendant Monsanto
16
     Company (“Monsanto”), by and through its counsel, objects to Plaintiffs Richard Gomez and
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     Maritza Cosano-Gomez’s purported “Notice of Voluntary Dismissal Without Prejudice.” Dkt.
18
     No. 19034, Case No. 3:16-md-02741-VC (Aug. 13, 2024). In violation of Pre-Trial Order No. 1,
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     the referenced “Notice” was not “filed in the individual case[] to which the document pertains.”
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     Dkt. No. 2 at 2, Case No. 3:16-md-02741-VC (Oct. 6, 2016).
21
            Under Rule 41(a)(1)(A), “the plaintiff may dismiss an action without a court order by
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     filing: (i) a notice of dismissal before the opposing party serves either an answer or a motion for
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     summary judgment; or (ii) a stipulation of dismissal signed by all parties who have appeared.”
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     Monsanto has not stipulated to the dismissal of this action, meaning dismissal is proper only if
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     Rule 41(a)(1)(A)(i) applies. Rule 41(a)(1)(A)(i) does not apply, however, because Monsanto has
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     already filed an answer in this case. See Dk. No. 1-2 at 35, Case No. 3:24-cv-03495-VC
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     (originally filed Feb. 26, 2024).
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                               MONSANTO COMPANY’S OBJECTION
                               3:16-md-02741-VC & 3:24-cv-03495-VC
          Case 3:16-md-02741-VC Document 19035 Filed 08/13/24 Page 2 of 3




 1             Starting when they filed this case, Plaintiffs have repeatedly resorted to improper

 2   measures to keep it out of federal court generally and out of this Court specifically. As explained

 3   in Monsanto’s Notice of Removal, they fraudulently joined a non-diverse defendant in an attempt

 4   to prevent removal. See generally Dkt. No. 1, Case No. 3:24-cv-03495-VC (filed Mar. 1, 2024).

 5   They then filed a meritless objection to this case’s transfer to this Court, delaying transfer until

 6   the Judicial Panel on Multidistrict Litigation denied their motion to vacate the applicable

 7   conditional transfer order. See generally Dkt. No. 18527, Case No. 3:16-md-02741-VC (June 7,

 8   2024). Now, rather than seeking a ruling on their fully briefed—but entirely meritless—motion

 9   to remand this case to state court, they seek to achieve the same result by unilaterally dismissing

10   this case.

11             The Court shoulder ignore the ineffective Notice. And should the Court choose to construe

12   the Notice “as a request for an order of dismissal under Rule 41(a)(2),” Monsanto asks the Court

13   to set a briefing schedule, to consider any such request in light of the Plaintiffs’ pending motion

14   to remand the case to state court, and to otherwise subject the request to elevated scrutiny in light

15   of Plaintiffs’ blatant attempt to avoid federal jurisdiction. Cf. Bonner v. Fuji Photo Film, 461 F.

16   Supp. 2d 1112, 1120 (N.D. Cal. 2006) (denying a motion to amend a complaint that would have

17   destroyed diversity jurisdiction based on, among other things, the “suspicious timing” of the

18   motion).1
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         Monsanto would not object to the dismissal of this case with prejudice.
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                                   MONSANTO COMPANY’S OBJECTION
                                   3:16-md-02741-VC & 3:24-cv-03495-VC
       Case 3:16-md-02741-VC Document 19035 Filed 08/13/24 Page 3 of 3




 1   DATED: August 13, 2024            Respectfully submitted,

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                                       SHOOK, HARDY & BACON L.L.P.
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                         MONSANTO COMPANY’S OBJECTION
                         3:16-md-02741-VC & 3:24-cv-03495-VC
